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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:07CR171
                              )
          v.                  )
                              )
JOSE ANTONIO OCHOA-GUZMAN,    )                        ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on the motion to

continue (Filing No. 39).      The Court notes there is now on file a

petition to enter a plea of guilty (Filing No. 42) and a plea

agreement (Filing No. 43).         Accordingly,

          IT IS ORDERED that defendant’s motion is granted; a

Rule 11 hearing is scheduled for:

                Monday, December 3, 2007, at 10 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

          DATED this 9th day of November, 2007.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ______________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
